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UNITED STATES DISTRICT COURT
for man ar gi oc.
WESTERN DISTRICT OF TENNESSEE

DSJUL ll PH 1108
U.S.A. vs. Thomas Munn, Jr. Docket No. 2:05 R20163-01

THOM°SM.GOLRD

    

Petition on Probation and Supervised Release

COMES NOW Edwa_gd E. Shaw PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Thomas Munn Jr. who was placed on supervision by the Honorable
George Howard, Jr. sitting in the Court at Little Rock AR on thel lth ______day of __C_)____ctober, 2002 who fixed the
period of supervision at three 131 yegs * ,and imposed the general terms and conditions theretofore adopted
by the Court and also imposed Special Conditions and terms as follows:

 

 

 

l. The defendant shall participate in the Home Detention program for the first five (5) months of
Supervised Release.

2. The defendant shall disclose financial information upon request of the U.S. Probation Office, but not
limited to loans, lines of credit, and tax returns,. This also includes records of any business with which
the defendant is associated No new lines of credit shall be established without prior approval of the
U.S. Probation Office.

3. The defendant shall pay $79,500.00 in restitution at a rate of 10% of the defendant’s monthly gross
income. (Balance Owed: $78,274.76)

* Supervision began on April 20, 2004.
Jurisdictioo was accepted and transferred to the Western District of Tennessee on April 25, 2005.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Afcer having evaluated the defendant’s personal and household income and expenses, it is recommended that the
Court specifically order the following restitution payment plan as a Special Condition of Supervised Release.

The defendant has consented, as indicated by his signature on the attached Probation Form 49, Waiver of Hearing
to Modify Conditions of Probation/Supervised hlease or Extend Term of Supervision, to this modification

PRAYING TI-IAT THE COURT WILL ORDER : The defendant shall pay restitution in monthly installments
of either $250.00, or at a rate often percent (10%) of the defendant’s monthly gross income, whichever is greater.

ORDER OF COURT Respectfully, %_\
C\ 1 idered and ordered this é }¢day of w< ¢

_.:.¢ 2005, and ordered Edward E. Shaw
d made = part of the records' m the United States Probation OHicer

 

 

       
   

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~» Place:M emphis TN

Date 75¢;;€ 216/2005

 

Unit d States District Judge

This document entered on the docket sheet in compliance @
With Hu|e 55 and/or 32( (b) FRCrP on

1 §§?49 Case 2:05-Cr-20163-BBD Document 3 Filed 07/11/05 Page 2 of 3 Page|D 4

United States District Court
WESTERN District of WNNESSEE

Waiver of Hearing to Modify Conditions
of ProbationISupervised Re|ease or Extend Term of Supervision

I have been advised and understand that l am entitled by law to a hearing and assistance of` counsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended By "assistance of counsel," I understand that I have the right to be represented at the hearing by
counsel of my own choosing if l am able to retain counsel. I also understand that I have the right to request the court
to appoint counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of my own

choosing.

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel I also agree to the
following modification of my Conditions of Probation and Supervised Release or to the proposed extension of my

term of supervision:

The defendant shall pay restitution in monthly installments of either $250, or at a rate of 10%
of the defendant’ s monthly gross income, whichever is greater.

Witness: ¢QOL£ w Signed:

Edward E. Shaw
U.S. Probation Of`ficer Probationer/Supervised Releas

TN/WD Dkt. No. 2105-cr-2()l63
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Date Date

  

   

UNITED sTAsTE DISTRICT COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of`the document docketed as number 3 in
case 2:05-CR-20163 Was distributed by f`aX, mail, or direct printing on
.luly 13, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

